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Plaintiff,

VS.
CFt. NO. 05-20036-B

BOOKEFl T. GOLDEN,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance ot the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
report date of Mondav. Auqust 29, 2005l at 9:30 a.m., in Courtroorn 1, 1 tth F|oor ot the
Federa| Bui|ding, Memphis, TN.

The period from August 12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need fo§r_ a spe dy trial.
iT |S SO ORDEFIED this / day‘§t`® 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:05-CR-20036 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

